                    Case 3:04-cr-00351-ADC                   Document 355         Filed 05/04/06          Page 1 of 5
qAO 2458     (Rev.06/05)Judgmentin a CriminalCase
             SheetI



                                    UNrrnoSrerssDrsrRrcrCounr
                      FOR THE                                  Districtof                            PUERTORICO
         T]NTIED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                     V.

            DANILO RUZ-BUITRAGO                                       CaseNumber:                    04-CR-351(SEC)
                                                                      USM Number:                    2l

                                                                      ANITA HILL-ADAMES
                                                                      Defendant's
                                                                               Attomey
THE DEFENDANT:
X pleadedguilty to count(s)      Marcb27

I pleadednolo contendereto count(s)
  which wasacceptedby the court.
! wasfound guilty on count(s)
  after a plea ofnot guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section                Nature of Offense                                                     Offense Ended          Count
1 8 : 1 9 5(6h )               Conspiracyto cornmitan offenseagainstthe US. Conduct                       8/3/04              I
                               financialtransaction
                                                  affectinginterstate
                                                                    commerce.
                               A class"C" felony
18:982(a)(
        1)                     Forfeiture.                                                                8/3/04              3


      The defendant is sentencedas provided in pages 2 though                      of this judgment. The sentenceis impos€dpurcuantto
the SentencingReform Act of 1984.

D The defendant has been found not guilty on count(s)

I Count(s)                                          !   is     !   are dismissedon the motion ofthe United States.

         It is orderedthatlhedefendant   mustnotifytheUnitedStatesatlorneyfor thisdistrictwithin 30 davsofanv chanp.e ofname.residence.
or mailing_address until.allfines,restirution-
                                             costs.andspecialassessmenls
                                                                      im'posed by thisj udgmentarefully paid.'I lordEredto payresrirution,
thedelenilantmustnotifythecourtandUnitedSLates        anorneyofmaterialch'anges iri ecoriomiccircumstanles.

                                                                      May 4,2006
                                                                      Dateof Inpositionof Judgment


                                                                      S/ SalvadorE. Casellas
                                                                      Signature
                                                                              ofJudge




                                                                      SALVADORE. CASELLAS.U.S.DISTRICTruDGE
                                                                      NameandTitle ofJudge


                                                                      Mav 4. 2006
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AO 2458   (Rev.06/05)Judgmentin CriminalCase
          Sheet2 - ImDrisonmmt

                                                                                                   Judgment- Page _-2_      of   5
DEFENDANT:                 DANILO RUZ.BUITRAGO
CASENUMBER:                04-cR-3s1(21XSEC)


                                                          IMPRJSONMENT

            The defenclant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a
total term of:     TIME SERVED




     !     The court makes the following recommendations to the Bureau ofPrisons:




     X     The defendantis rernandedto the custodv ofthe United StatesMarshal.


     !     The def€ndant shall surender to the United States Marshal for this dishict:

           E a                                 !   a.m.     E p.--        on

           E   asnotified by the United StatesMarshal.

     tr    The defendant
                       shallsurrender
                                    for serviceofsentenceat theinstitutiondesisnated
                                                                                   bv tlreBureauofPrisous;

           !   before2 p.m.

           I   asnotifredby theUnitedStatesMarshal.

           E   asnotifiedby theProbationor PretrialServicesOffrce.


                                                               RETURN
             thisjudgmentasfollows:
I haveexecuted




           Defendantdelivered

                                                   with a certifred copy of this judgment.




                                                                                                UNITED STATESMARSHAI-



                                                                                             DEPUTY UNITED STATESMARSHAL
                          Case 3:04-cr-00351-ADC                 Document 355             Filed 05/04/06           Page 3 of 5
AO 2458         (Rev.06/05)Judgment
                                  in a CriminatCase
                SheetI   Supervised
                                  Release

                                                                                                              Judgmmt    Page       J   of
DEFENDANT:                      DANILO RUZ-BUITRAGO
CASENUMBER:                     04-CR-351
                                        (2lXSEC)
                                                           SUPERVISEDRELEASE
Uponreleasefrom imprisonment,
                           thedefendant
                                      shallbe on supervised
                                                          releasefor a termof:                             THREE(3) YEARS




     The defe4dant must-rePort to the probation office in the district to which the defendant is released within 72 hours ofrelease ftom the
cusloqy oI me bureau oI Pnsons.
The defendant shall not commit another federal, state or local crime.
The defenda{rt
           -l shall not unlawfully possessa controlled substance.The defendantshall refiain fiom any unlawful useofa controlled
             he delendant shall submir to one drug test within l5 days ofrelease ftom imprisonmentanil al leasttwo periodic drug r-sts
:19_t133::
Inereaner.as deleruunedbv the court.

!          The above drug testing condition is suspended,based on the court's determination that the defendaat Dosesa low dsk of
           fuhrre substanceabuse. (Check, if applicabte.)

X          The defendantshall not possessa fiream! ammunition,desauctivedevice, or any other dangerousweapon. (Check, ifapplicable.)

X          The defendantshall cooperatein the collection of DNA as directedby the probation officer. (Check, if applicable.)

!          The defendant shall register with the state sex offender registration agency in the state where the defendant resides. works. or is a
           student,as directedby the probation oflicer. (Check, if applicable.)

I          The defendantshall participatein an approvedprogram for domesticviolence. (Check, if applicable.)
     Ifthis,ludgment imposest,fine or restitution,it is a condition ofsupervised releasethat the defendantpay in accordancewith the
-,
sctredule ol Pa,yTnenls
                      sheetol thrs tudsment-
      ft: dlf91d1"t -ur, .o-pty *l,n if,e standardconditionsthar have beenadopledby this coun as well as wirh any additional conditions
on ^,
   Ine a(acneq page.

                                          STANDARD CONDITIONS OF SUPER\'ISION
     1)     the defendantshall not leave thejudicial district without the permissionof the court or probation officer;
     2)     thedefendant shall report to the probation officer and shall submit a tnrthfirl and complete written report within the first five days of
            each month:
     3)     the defendant shall answer trutbi.rlly all inquiries by the probation offrcer and follow the instructions of the probation officer:
     4)     the defendant shall support his or her dependents and meet other farnily resporxibilities;
     51                        work regularly at a lawful occupation,unless excusedby the probation officer for schooling,taining, or olher
            9"^^1Sf-"J9Ttshall
            acceDmLllereasonsl
     6)     the defenclant shall notifo the probation offrcer at l€ast ten days pior to any change in residence or errplo)rynent;
     7)     the defendantshall refiain fiom excessiveuse ofalcohol and shall not purchase,possess,use,distribute.or administeranv
            conFolled substanceor any paraphernaliarelatedto any controlled substances.eicept as prescribedby a pbysician;
     8)     the defendantshall not ftequentplaceswhere controlled substancesare illegally sold, used, distributed,or administered;
     9)                           associatewith,any qersonsengagedin criminal activity and shall nol associatewirlt any personconvictedofa
            l!:-q_.194,T!
            rerony.uruessthSll_not
                          granredperrrussronto do so by the probatlon otlicer;
    I 0)                                           officer to visit hirn or her at any time at home or elsewhere and shall permit confrscation of any
            F_*1.:d9,".-91!^q.pt
            conraband                -alrobation
                        observedin plain  view of the probarionofllcer:
11)         the defendantshall notify the probatlon omcer within seventy-twohows ofbeing a[ested or questionedby a law enforcementofficer;
t2)                           no-t elter tnto any agreement to act as an informer or a special agent of a law enforcement agency without the
            !qq."!:l9llshall
            perrussronoI me court: and
I 3)        as directedby the probation o fficer. the defendantshall notit/ third partiesof risks that may be occasionedbv lhe defendant.scriminal
            rec.ordor Personal tustory or charactenstrcsand shall permit the probation officer to make such notificirions and to confirm the
            qeTenoanls comDltancewrth Suchnotrlrcatronreoulrement
                  Case 3:04-cr-00351-ADC         Document 355   Filed 05/04/06    Page 4 of 5
AO 2458   (Rev.06/05)Judgmentin a CriminalCase
          Sheet3A - SuDervisedRelease
                                                                              'udsmentPase
DEFENDANT:             DANTL' RUZ-BUITRAGO
CASENUMBER:                   (2IXSEC)
                       04-cR-351

                                ADDITIONAL SUPERVISEDRELEASE TERMS

1. Thedefendantshallnot commitanotherFederal,state,or localcrime,andshallobservethe standard
                                                                                           conditions
of supervised
            releaserecommendedby theUnitedStatesSentencing    Commissionandadoptedby this Court.
2. Thedefendantshallnot unlawfullypossess
                                        anycontrolledsubstances.
3. Thedefendantshallrefrainfrom possessing
                                         firearms,destructivedevices,andotherdangerous
                                                                                     weapons.
4. If removedby theBureauof Immigation andCustomsEnforcement,thedefendantshallremainoutsidethe
UnitedStates,_
             andall.places subjectto itsjurisdictionunlesspriorwrittenpermission to reenleris obtained fromthe
pertinentlegalauthoritiesandthe defendant notifiesin writing theprobationofficerof this Courtto thateffect.
If allowedto remainin theUnitedStates,the defendant
                                                  shallalsocomplywith the followingconditions:
5. Thedefendantshallrefrainfrom theunlawfuluseofcontrolledsubstances,    andsubmitto a drugtestwithin
fifteen(15)daysof releaselthereafter,
                                   submitto randomdrugtest,notto exceed104samples       perlear
                                                                                        'If    accordance
with theDrugAftercarel,og?- Policyof thelJ.S.Probation    Officeapproved  by thisCourt. iny suchsamples
detectsubstanceabuse, thedefendantshallpanicipate in a drugtreatmenl proeraln(in-oatient
                                                                                       or out-oatienl)
                                                                                                    in
accordance with_suchpolicy.Thedefendani  is required
                                                   to coniiibuteto thdcoit ofservicesrendered(co-payrnent)
basedon theabilityto payor availability
                                      of thirdpartypayments, asapproved  by rheCourt.
6. Thedefendantshallcooperate
                            in thethecollectionof a DNA sampleasdirectedby theU.S.ProbationOfficer,
pursuantto theRevisedDNA CollectionRequirements, andTitle 18;U.S. Code356j (aX9).
AO 2458             Case
           (Rev.06/05)     3:04-cr-00351-ADC
                     Judgmentin a CriminalCase                 Document 355                    Filed 05/04/06        Page 5 of 5
           Sheet5 CrirninalMonelarvPenalti€s
                                                                                                           Judgmmt    Page ____L   of      5
DEFENDANT:                      DANILORUZ-BUITRAGO
CASENUMBER:                             (21XSEC)
                                04-cR-3s1
                                      CRJMINAL MONETARY PENALTIES
     The defendantmust pay the total cdminal monetarypenaltiesunder the scheduleofpayrnents on Sheet6.


                     Assessm€nt                                             Fine                               Restitution
TOTALS            $ 100.00                                                $ NONE                             $ NONE


E    The determinationofrestitution is deferreduntil                      An Amended Judgment in a Criminel Case(AO 245C) will be entered
     after suchdetermination.

I    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     IIthe defendantmakesapanial paymenl eachpayeeshall receivean approximatelyproportionedpa\Tnent.ur esssDecifiedotherwisein
     the-pnonty order or percentagepaymenl column below. However. pursuantto l8Il.S.C. $ 3664G).-allnon_federal
                                                                                                             victtns mustbe paid
     DeIOreure unrled Statesrs Dard.

Name of Pav€e                                Total Loss*                           RestitutionOrd€red                     Prioritv or Percentas€




TOTALS


tr   Restitutionamount orderedpusuant to plea agreemenl $

n    The defendantmust pay intereston restitution and a fine of more than $2,500,unlessthe restitution or fine is paid in full before the
     fifteenth day after the date ofthe judgment, pu$uant to l8 U.S.C. $ 3612(f). All ofthe payrnentoptions on Sheet6 maybe subject
     to penaltiesfor delinquencyand default, pursuantto 18 U.S.C. g 3612(g).

!    Th€ court determined that the defendant does not have the ability to pay interest and it is ordered that:

     I    the interest requirement is waived for the       E       fine     !   restitution,

     !    the interest requirement for the     D    hne        E     restitution is modifred as follows:



* Findingsfor the total amountoflossesare requiredunder Chapters109A, I 10, I l0A, and I l3A. ofTitle 18 for offenses
                                                                                                                     committedon or after
Septemb-er13, 1994,but before April 23, 199^6.
